

Morrissey v Fresh Meadow Mech. Corp. (2022 NY Slip Op 05143)





Morrissey v Fresh Meadow Mech. Corp.


2022 NY Slip Op 05143


Decided on September 13, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 13, 2022

Before: Renwick, J.P., Singh, Moulton, Kennedy, JJ. 


Index No. 25979/16E Appeal No. 16048 Case No. 2021-01502 

[*1]Peter Morrissey et al., Plaintiffs-Respondents-Appellants,
vFresh Meadow Mechanical Corp., Defendant-Appellant-Respondent, Automated Control Concepts, Inc., Defendant.





An appeal and a cross appeal having been taken to this Court by defendant Fresh Meadow and plaintiffs, from order of the Supreme Court, Bronx County (Kenneth L. Thompson, Jr., J.), entered on or about April 7, 2021,
And said appeal and cross appeal having been argued by counsel for the respective parties; and due deliberation having been had thereon, and upon the stipulation of the parties hereto dated July 22, 2022,
It is unanimously ordered that said appeal and cross appeal be and the same are hereby withdrawn in accordance with the terms of the aforesaid stipulation.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 13, 2022








